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                         UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA


IN THE MATTER OF APPLICATION FOR    :
ADMISSION TO PRACTICE IN THIS COURT :



                                        PETITION

       I _________________________________, hereby petition the United States District
Court for the Middle District of Pennsylvania to admit me to practice before that Court. In
support of my petition, I state as follows:

My office address is:       __________________________________________

                            __________________________________________

                            __________________________________________

       Office Telephone:    __________________________________________

      I was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and I am currently a member in good standing of all those Courts.




My attorney Identification number is: ___________________

 FOR COURT USE ONLY

 _____ GENERAL ADMISSION:

 GRANTED BY THE COURT: ______________________                     Date: _____________

 _____ SPECIAL ADMISSION:

 GRANTED BY THE COURT _______________________                     Date: _____________
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                                   Sara Solow Court Admissions

New York No. 5175666
Admitted: 10/24/2013

U.S. Supreme Court No. 301129
Admitted 3/20/2017

New Jersey No. 031152011
Admitted 11/21/2011

Pennsylvania No. 311081
Admitted 11/28/2011

Third Circuit
Admitted 7/6/2012

District of New Jersey No. 031152011
Admitted 12/1/2011

Ninth Circuit
Admitted 2/13/2017

Fourth Circuit
Admitted 4/11/2017

Eastern District of Pennsylvania
Admitted 4/27/2017

Sixth Circuit
Admitted 6/20/2017

Court of Appeals – D.C. Circuit No. 60224
2/15/2017
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Please Answer the Following Questions:


       All occasions, if any, on which I have been convicted of a crime (subsequent to my
becoming an attorney), censured, suspended, disciplined or disbarred by any court are set
forth as follows: (State the facts and circumstances connected with each; if none, state
“none”.)




        All occasions, if any, on which I have been held in contempt of court are set forth
as follows: (State the nature and final disposition of contempt; if none, state “none”.)


       I do _____, do not _____, have any disciplinary action, contempt or other
proceedings involving me pending before any court. (Check the appropriate space.) If
there are pending proceedings, please explain:


       I am seeking:

                 General Admission under Local Rule LR 83.8.1

                 Special Admission (specify by a check which rule) under

       LR 83.8.2.1      , LR 83.8.2.2     , LR 83.8.2.3      , or LR 83.8.2.4

If seeking special admission under Local Rules LR 83.8.2.1, LR 83.8.2.2, LR 83.8.2.3, or
LR 83.8.2.4, the basis for my admission under the designated rule is as follows:




NAME THE PARTY YOU REPRESENT:



If special admission is requested for a particular case, please list case number and caption:

Case #

Caption #
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